     Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 1 of 31 PageID #:76317



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


     IN RE: TESTOSTERONE REPLACEMENT                    MDL No. 2545
     THERAPY PRODUCTS LIABILITY
     LITIGATION                                         Master Docket Case No. 1:14-cv-01748

                                                        Honorable Matthew F. Kennelly
     THIS DOCUMENT RELATES TO ALL
     CASES


                                         AMENDED
                             CASE MANAGEMENT ORDER NO. 16
                      (Establishing Common Benefit Fee and Expense Funds)

I.       SCOPE OF ORDER

         This Order is entered to provide for the fair and equitable sharing among plaintiffs, and their

counsel, of the burden of services performed and expenses incurred by attorneys acting for the

common benefit of all plaintiffs in this complex litigation.

         A.     Governing Principles and the Common Benefit Doctrine

         The governing principles are derived from the United States Supreme Court’s common

benefit doctrine, as established in Trustees v. Greenough, 105 U.S. 527 (1881); refined in, inter alia,

Central Railroad & Banking Co. v. Pettus, 113 U.S. 116 (1884); Sprague v. Ticonic National Bank,

307 U.S. 161 (1939); Mills v. Electric Auto-Lite Co., 396 U.S. 375 (1970); Boeing Co. v. Van

Gemert, 444 U.S. 472 (1980); and approved and implemented in the MDL context, in inter alia, In

re Air Crash Disaster at Florida Everglades on December 29, 1972, 549 F.2d 1006, 1019-21 (5th

Cir. 1977); and In re MGM Grand Hotel Fire Litigation, 660 F.Supp. 522, 525-29 (D. Nev. 1987).

Common benefit work product includes all work performed for the benefit of all plaintiffs, including

pre-trial matters, discovery, trial preparation, a potential settlement process, and all other work that

advances this litigation to conclusion.
  Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 2 of 31 PageID #:76318



       B.      Application of this Order

       This Order applies to all cases now pending, as well as to any case later filed in, transferred

to, or removed to this Court and treated as part of the coordinated proceeding known as In re

Testosterone Replacement Therapy Products Liability Litigation, MDL 2545 (the “MDL”). This

Order further applies to: (1) each attorney who represents a plaintiff with a case now pending in or

later filed in, transferred to, or removed to this Court, regardless of whether the plaintiff’s attorney

signs the “Participation Agreement” attached hereto as Exhibit A, and regardless of whether the

attorney also has cases outside the MDL (filed or unfiled) (“the MDL Plaintiffs’ Counsel”); and (2)

each attorney who represents only plaintiffs with cases filed in state court who elects to sign the

Participation Agreement (“the Participating Non-MDL Plaintiffs’ Counsel”) (together with the

MDL Plaintiffs’ Counsel, “Participating Counsel”). Counsel shall execute the Participation

Agreement within 45 days of the date their first case is filed in any state court, if that lawyer

intends to voluntarily become a Participating Counsel at the

       C.      Participation Agreement (Exhibit A)

Exhibit A, attached hereto and incorporated herein, is a voluntary Participation Agreement

between: (1) the Plaintiffs’ Steering Committee (“PSC”) and other plaintiffs’ attorneys who

perform common benefit work in connection with the MDL, and (2) plaintiffs’ attorneys with cases

solely in state court who elect to sign the Participation Agreement. The Participation Agreement is

a private and cooperative agreement between plaintiffs’ attorneys only; and not defendants or

defendants’ counsel. All plaintiffs’ attorneys who currently have cases pending in any state court

and who want to become a Participating Counsel shall, within 45 days of this Order, execute the

Participation Agreement. Any plaintiffs’ attorney who does not yet have a TRT case filed in any

federal or state court and who wants to become a Participating fee and expense percentages set

forth herein. Failure to execute a Participation Agreement indicating that an attorney will be a
  Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 3 of 31 PageID #:76319



Participating Counsel within the time frame set forth in this paragraph will result in higher

percentages for common benefit assessment as a result of such later participation. More

specifically, and as set forth in the Participation Agreement, the higher fee percentage for failure to

execute a Participation Agreement indicating that an attorney will be a Participating Counsel within

the time frame set forth in this paragraph shall increase from 14.5% to 22.5% (for a total

assessment increasing from 19.5% to 27.5%).

       Participating Counsel shall be entitled to receive all the common benefit work product

performed by the PSC. Counsel who choose not to execute the Participation Agreement are not

entitled to receive common benefit work product and may be subject to an increased assessment on

all TRT cases in which they have a fee interest if they receive common benefit work product or

otherwise benefit by the work performed by Participating Counsel.

       The Court recognizes the jurisdictional rights and obligations of the state courts to conduct

their state court litigation as they so determine and that the state court litigations may include

counsel who are Participating Counsel. The Participation Agreement and this Order shall not be

cited by a Party to the Participation Agreement in any other court in support of a position that

adversely impacts the jurisdictional rights and obligations of the state courts and state court

Participating Counsel.

II.    COMMON BENEFIT EXPENSES

           A. Qualified Expenses Eligible for Reimbursement

       In order to be eligible for reimbursement of common benefit expenses, said expenses must

meet the requirements of this section and the limitations set forth in the Participation Agreement.

Specifically, said expenses must be: (a) for the common benefit; (b) appropriately authorized (as

defined in footnote 1 in the Participation Agreement); (c) timely submitted within the defined

limitations set forth in this Order; and (d) verified by a partner or shareholder in the submitting firm.
  Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 4 of 31 PageID #:76320



       Time and expense submissions are to be made on the 15th of each month, beginning on

December 15, 2014. Each submission should contain all time and expenses incurred during the

calendar month prior to the submission date (i.e., the January 15, 2015 submission should include

all time and expenses incurred during the month of December 2014), though the first submission

should include all time and expenses incurred through November 30, 2014. All time and expense

submissions should be accompanied by contemporaneous records and verified by a partner or

shareholder in the submitting firm. In addition, each firm that makes a common benefit time and/or

cost submission for a given month shall also be required to submit a brief summary (no more than 2

or 3 sentences) summarizing the contribution that each time keeper from that law firm made toward

the common benefit and advancement of the litigation. Submissions of time and expense made after

the 15th day of the month following the month in which the time or expense were incurred may be

rejected. Only time and expense incurred after the entry of CMO #4 by this Court appointing

Plaintiffs’ Leadership on July 31, 2014 (plus any time and expense incurred by those appointed to

leadership in complying with the terms of CMO #1) shall be submitted and considered for common

benefit consideration. Moreover, only that time and those expenses incurred for the common

benefit of all cases, consistent with the terms of this Order (e.g., activities associated with

completing the items to comply with CMO #1), shall be considered for common benefit

reimbursement at the end of the litigation.

           B. Shared and Held Common Benefit Expenses

               1.      Shared Costs

       Shared Costs are costs incurred for the common benefit of all plaintiffs. Shared Costs are

costs that will be paid out of a separate TRT Operating Expense Fund established and administered

by Plaintiffs’ Liaison Counsel and funded by all members of the PSC and others as determined by

Plaintiffs’ Co-Lead Counsel. All Shared Costs must be approved by Plaintiffs’ Co-Lead Counsel or
  Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 5 of 31 PageID #:76321



the Plaintiffs’ Executive Committee prior to payment. Shared Costs include: (a) certain filing and

service costs; (b) deposition, court reporter, and video technician costs for non-case specific

depositions; (c) costs necessary for creation of a document depository, the operation and

administration of the depository, and any equipment required for the depository; (d) Plaintiffs’ Co-

Lead Counsel, Executive Committee, and Liaison Counsel administrative matters (e.g., expenses

for equipment, technology, courier services, telecopier, electronic service, photocopy and printing,

secretarial/temporary staff, etc.); (e) PSC group administration matters such as PSC or PEC

meetings; (f) accountant fees; (g) generic expert witness and consultant fees and expenses; (h)

printing, copying, coding, scanning (out of house or extraordinary firm cost); (i) research by outside

third party vendors/consultants/ attorneys; (j) translation costs; (k) bank or financial institution

charges; (l) certain investigative services, and (m) special master and/or mediator charges.

               2.      Held Costs

       Held Costs are those that will be carried by each Participating Counsel in MDL 2545. Held

Costs are those that do not fall into any of the above categories of shared costs, but are incurred for

the benefit of all plaintiffs. By way of example, travel costs incurred by a firm for travel to undertake

common benefit work shall be held costs. Held costs can also include unreimbursed, but authorized,

shared costs. No specific client-related costs shall be considered as Held Costs, unless the case is

determined by Plaintiffs’ Co-Lead Counsel to be a “common benefit case,” e.g., certain bellwether

cases as determined by Plaintiffs’ Co-Lead Counsel.

           C. Authorization and Submission

       The Participation Agreements sets forth the guidelines for authorizing and submitting

expenses for the common benefit which shall be followed.

           D. Expenses Limitations

                     1.Travel Limitations
  Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 6 of 31 PageID #:76322



       Except in extraordinary circumstances approved in advance by Plaintiffs’ Co-Lead

Counsel, all travel reimbursements are subject to the following limitations:

                         i.   Air Travel: Only the price of a coach seat for a reasonable itinerary
                              will be reimbursed. Business/First Class Airfare will not be fully
                              reimbursed, except for international flights, which requires prior
                              approval by Plaintiffs Co-Lead Counsel in order to be considered for
                              reimbursement. Use of a private aircraft will not be reimbursed. If
                              Business/First Class Airfare is used on domestic flights then the
                              difference between the Business/First Class Airfare and the coach
                              airfare must be shown on the travel reimbursement form, and only the
                              coach fare will be will be reimbursed.

                        ii.   Hotel: Hotel room charges for the average available room rate of a
                              business hotel, including the Hyatt, Westin, and Marriott hotels, in
                              the city in which the stay occurred will be reimbursed. Luxury hotels
                              will not be fully reimbursed but will be reimbursed at the average
                              available rate of a business hotel.

                       iii.   Meals: Meal expenses must be reasonable.

                        iv.   Cash Expenses: Miscellaneous cash expenses for which receipts
                              generally are not available (tips, luggage handling, pay telephone,
                              etc.) will be reimbursed up to $50.00 per trip, as long as the expenses
                              are properly itemized.

                        v.    Rental Automobiles: Luxury automobile rentals will not be fully
                              reimbursed, unless only luxury automobiles were available. If luxury
                              automobiles are selected when non-luxury vehicles are available, then
                              the difference between the luxury and non-luxury vehicle rates must
                              be shown on the travel reimbursement form, and only the non-luxury
                              rate may be claimed, unless such larger sized vehicle is needed to
                              accommodate several counsel.

                        vi.   Mileage: Mileage claims must be documented by stating origination
                              point, destination, total actual miles for each trip, and the rate per mile
                              paid by the member’s firm. The maximum allowable rate will be the
                              maximum rate allowed by the IRS (currently 56 cents per mile).

                    2. Non-Travel Limitations

                         i.   Shipping, Courier, and Delivery Charges: All claimed expenses must
                              be documented with bills showing the sender, origin of the package,
                              recipient, and destination of the package.

                        ii.   Postage Charges: A contemporaneous postage log or other supporting
                              documentation must be maintained and submitted. Postage charges
  Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 7 of 31 PageID #:76323



                              are to be reported at actual cost.

                       iii.   Telefax Charges: Contemporaneous records should be maintained
                              and submitted showing faxes sent and received. The per-fax charge
                              shall not exceed $1.00 per page.

                       iv.    In-House Photocopy: A contemporaneous photocopy log or other
                              supporting documentation must be maintained and submitted. The
                              maximum copy charge is 15¢ per page.

                        v.    Computerized Research – Lexis/Westlaw: Claims for Lexis or
                              Westlaw, and other computerized legal research expenses should be
                              in the exact amount charged to or allocated by the firm for these
                              research services.

III.   COMMON BENEFIT WORK

           A. Qualified Common Benefit Work Eligible for Reimbursement

       Only Participating Counsel are eligible for reimbursement for time and efforts expended for

the common benefit. Participating Counsel shall be eligible for reimbursement for time and efforts

expended for common benefit work if said time and efforts are: (a) for the common benefit; (b)

appropriately authorized (as described in footnote 1 of the Participation Agreement); (c) timely

submitted; and (d) verified by a partner or shareholder in the submitting firm. Common benefit

work shall only be performed by employees of the law firm submitting time/expenses and

time/expenses by contract attorneys will not be compensated/reimbursed. Not all common benefit

hours billed/submitted are equal. There is no guaranty that all of the time submitted by any firm

will be compensated and the hourly rate for the work that is compensated is not guaranteed.

Moreover, if counsel is a member of the Plaintiffs’ Steering Committee and fails to timely submit

capital contributions as may be requested by Co-Lead Counsel throughout this litigation, such

counsel and members of his/her firm shall not be allowed to submit common benefit time or

expenses for reimbursement.

           B. Compensable Common Benefit Work Defined
  Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 8 of 31 PageID #:76324



       As the litigation progresses and common benefit work product continues to be generated,

the Co-Lead Counsel, Plaintiffs’ Executive Committee and the Co-Chairs of the committees

established by Co-Lead Counsel may assign Participating Counsel with common benefit work;

common benefit work shall include only work specifically assigned. Examples of common benefit

work include, but are not limited to, maintenance of the document review database; review and

document coding; expert retention and development authorized by Co-Lead Counsel and/or Co-

Chairs of the Science and Expert Committee; preparing for and conducting authorized depositions

of Defendants, third-party witnesses, and experts; and activities associated with preparation for trial

and the trial of any cases designated as “common benefit trials” by Plaintiffs’ Co-Lead Counsel.

Only common benefit work performed by an employee of the law firm assigned the task will be

compensated; work performed by contract lawyers will not be compensated.

           C. Authorization and Time Keeping

       All time must be authorized and accurately and contemporaneously maintained. Time shall

be kept according to these guidelines as set forth in the Participation Agreement and approved by

Plaintiffs’ Co-Lead Counsel, Plaintiffs’ Executive Committee and the Co-Chairs of the committees

established by Co-Lead Counsel.

IV.    PLAINTIFFS’ LITIGATION FEE AND EXPENSE FUNDS

           A. Establishing the Fee and Expense Funds

       At an appropriate time, Plaintiffs’ Liaison Counsel will be directed to establish two interest-

bearing accounts to receive and disburse funds as provided in this Order (the “Funds”). The first

fund shall be designated the “TRT Fee Fund” and the second fund shall be designated the “TRT

Expense Fund.” These funds will be held subject to the direction of this Court.

       By subsequent Order of this Court, the Court will appoint a qualified certified public

accountant (the “CPA”) to serve as Escrow Agent over the Funds and to keep detailed records of all
  Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 9 of 31 PageID #:76325



deposits and withdrawals and to prepare tax returns and other tax filings in connection with the

Funds. Such subsequent Order shall specify the hourly rates to be charged by the CPA and for the

CPA’s assistants, who shall be utilized where appropriate to control costs. The CPA shall submit

quarterly detailed bills to the Court and to Plaintiffs’ Liaison Counsel. Upon approval by the Court,

the CPA’s bills shall be paid from the TRT Expense Fund and shall be considered a shared cost.

The Plaintiffs’ Liaison Counsel shall provide a copy of this Order to the CPA.

             B. Payment into the Fee and Expense Funds

                      1.General Standards

          All plaintiffs and their attorneys who are subject to this Order and who agree to settle,

compromise, dismiss, or reduce the amount of a claim or, with or without trial, recover a judgment

for monetary damages or other monetary relief, including such compensatory and punitive damages,

with respect to TRT claims are subject to an assessment of the gross monetary recovery, as provided

herein.

                      2.Gross Monetary Recovery

          Gross monetary recovery includes any and all amounts paid to plaintiffs’ counsel by

Defendants through a settlement or pursuant to a judgment. In measuring the “gross monetary

recovery,” the parties are to (a) exclude court costs that are to be paid by the defendant; (b) include

any payments to be made by the defendant on an intervention asserted by third parties, such as to

physicians, hospitals, or other healthcare providers in subrogation related to treatment of a plaintiff,

and any governmental liens or obligations (e.g., Medicare/Medicaid); and (c) include the present

value of any fixed and certain payments to be made in the future. The assessment shall apply to all

of the cases of the plaintiffs’ attorneys who are subject to this Order, whether as sole counsel or co-

counsel, including cases pending in the MDL, pending in state court, unfiled, or tolled.

                      3.Assessment Amount
 Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 10 of 31 PageID #:76326



       The assessment amount will be a total of 19.5% (14.5% for attorneys’ fees and 5% for

expenses). The assessment represents a holdback (In re Zyprexa Prods. Liab. Litig., 267 F.Supp.2d

256 (E.D.N.Y. 2006)) and shall not be altered absent further order of the Court. However, if any

counsel with cases only in state court fails to timely execute the Participation Agreement, such

counsel and members of his/her firm may be subject to the increased assessment. Moreover, if a

Non-Participating Counsel receives common benefit work product or otherwise benefits from the

common benefit work product, such counsel and the cases in which she/he has a fee interest may be

subject to an increased assessment.

                     4.Reporting Obligations

       Plaintiffs’ Liaison Counsel shall provide to Defendants’ Liaison Counsel the following two

lists on a quarterly basis beginning on December 31, 2014: (a) a list of all lawyers who have filed a

TRT case that is pending in the MDL (“the MDL Counsel List”) and (b) a list of all lawyers who

have executed the Participation Agreement that is Exhibit A hereto who do not have a TRT case

pending in the MDL (“the Non-MDL Participating Counsel List”). These same lists shall be made

available to all plaintiffs’ counsel with cases in this MDL, as well as any other plaintiffs’ counsel

who signs the Participation Agreement, upon request. In the event there is a dispute as to whether a

case should be on the lists, Plaintiffs’ Co-Lead Counsel shall seek to resolve the matter with the

particular plaintiff’s counsel informally, and if that is unsuccessful, upon motion to the Court.

       Within 14 days of receipt of these two lists from Plaintiffs’ Liaison Counsel, Defendants’

Liaison Counsel shall provide to Plaintiffs’ Liaison Counsel a list of all lawyers who appear as

counsel of record on a complaint in any TRT case in any court in the United States (state or federal)

who do not appear on either the MDL Counsel List or the Non-MDL Participating Counsel List.

The parties’ reporting obligations shall continue quarterly until the conclusion of this MDL.

                     5.Defendants’ Obligations to Pay Common Benefit Assessments
 Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 11 of 31 PageID #:76327



       For cases subject to an assessment (i.e., any case in which the counsel of record also has

appeared as a counsel of record in any case pending in the MDL, or any case for a lawyer without

any MDL cases where the PSC has informed Defendants that the plaintiff’s lawyer has signed the

Participation Agreement, in accordance with the procedure set forth in Section IV(B)(4) above),

Defendants are directed to withhold an assessment from any and all amounts paid to plaintiffs and

their counsel and to pay the assessment directly into the Funds as a credit against the settlement or

judgment. No orders of dismissal of any plaintiff’s claim shall be entered unless accompanied by a

certificate of the Defendant’s counsel that the assessment, if applicable, will be withheld and will

be deposited into the Funds. If for any reason the assessment is not or has not been so withheld, the

plaintiff and his counsel are jointly responsible for paying the assessment into the Fund properly.

       To preserve the confidentiality of settlement amounts, if any, Defendants may pay any such

assessments on an aggregate basis for each quarter. Details of any individual settlement agreement,

individual settlement amount, and/or amounts deposited into escrow by any particular Defendant

shall be confidential and shall not be disclosed by the CPA to anyone, including Plaintiffs’ Co-Lead

Counsel, any member of the PSC, any Plaintiff’s counsel, or the Court, unless the Court requests

that it receive that information, in which case the report shall be provided only to the Court and

only in camera (i.e., not publicly filed and not available to any counsel). Quarterly statements from

the CPA shall, however, be provided to Plaintiffs’ Co-Lead and Plaintiffs’ Liaison Counsel (and, if

the Court so orders, to the Court) showing only the aggregate of the quarterly deposits from all

Defendants, disbursements, interest earned, financial institution charges, if any, and current

balance. Within thirty days after the end of the first quarter in which any Defendant has paid any

assessment into the Fund, the Defendant shall meet and confer with Plaintiffs’ Liaison Counsel (or

any other attorney designated by the Plaintiffs’ Executive Committee) regarding whether the parties
 Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 12 of 31 PageID #:76328



should employ some mechanism to ensure the accuracy of the list of lawyers who are or were

subject to an assessment.

V.     DISTRIBUTIONS

           A. Court Approval

       The amounts deposited into the TRT Fee Fund and the TRT Expense Fund shall be

available for distribution to Participating Counsel who have performed professional services or

incurred expenses for the common benefit. No amounts will be disbursed without review and

approval by the Court, or such other mechanism as the Court may order. Specifically, such sums

shall be distributed only upon Order of this Court. This Court retains jurisdiction over any common

benefit award or distribution.

           B. Application for Distribution

       Each Participating Counsel who does common benefit work has the right to present their

claim(s) for compensation and/or reimbursement prior to any distribution approved by this Court.

Any Counsel who does not sign the Participation Agreement shall not be eligible to receive

common benefit payments for any work performed or expenses incurred.

       At the appropriate time, this Court shall appoint a Common Benefit Fee Committee to make

recommendations to this Court for distributions to Participating Counsel who have performed

common benefit work and/or incurred common benefit expenses. In the event that there is not

unanimous agreement among members of the Common Benefit Fee Committee, each member of

the Common Benefit Fee Committee shall only have one vote and each vote shall bear the same

weight. A decision about the recommendation to the Court of the Common Benefit Fee

Committee need only be made by a majority of votes. The Common Benefit Fee Committee shall

determine on its own the most fair and efficient manner by which to evaluate all of the time and

expense submissions in making its recommendation to this Court. This Court will give due
 Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 13 of 31 PageID #:76329



consideration to the recommendation of the Common Benefit Fee Committee in making its ruling

on the award of common benefit fees and common benefit cost reimbursement.

IT IS SO ORDERED.

Dated: October 26, 2018

                                                               __________________________
                                                               Honorable Matthew F. Kennelly
                                                                   United States District Judge
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 14 of 31 PageID #:76330
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 15 of 31 PageID #:76331



              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ILLINOIS

IN RE: TESTOSTERONE REPLACEMENT                     Case No. 1:14-cv-
THERAPY PRODUCTS LIABILITY                          1748 MDL No.
LITIGATION                                          2545

THIS DOCUMENT RELATES TO ALL                        Hon. Matthew F. Kennelly
CASES



                                 EXHIBIT A TO CMO NO. 16
                                (Common Benefit Participation
                                       Agreement)

        THIS AGREEMENT is made this                    day of               ,   2018,    by     and

 between the Plaintiffs’ Leadership Group appointed by the United States District Court for the

 Northern District of Illinois in MDL 2545 and                                          [Name    of

 the Firm Executing the Agreement] (the “Participating Counsel”).

        WHEREAS, the United States District Court for the Northern District of Illinois has

 appointed Ronald E. Johnson, Jr., Trent B. Miracle, Christopher A. Seeger, Timothy Becker,

 Michael Papantonio, Seth A. Katz, Michael London, Maury A. Herman, Michelle Kranz, Bill

 Robins, Martin Crump, T. Matthew Leckman, Lawrence J. Gornick, Matthew Teague, Gregory

 Spizer, Frank Petosa, Kristine Kraft, Elwood Stevens, Jr., Christopher Tisi, Arnold Levin, Alex

 H. MacDonald, Mark A. Hoffman, Dawn M. Barrios, Derriel C. McCorvey, Roger W.

 Orlando, Rachel Abrams, W. Mark Lanier, David S. Ratner, Yvonne Flaherty, Dianne Nast,

 Kathleen Chavez, Brian J. Perkins, and Myron Cherry to serve as members of the Plaintiffs’

 Leadership Group (also referred to as the Plaintiffs’ Steering Committee or “PSC”), to facilitate

 the conduct of pretrial proceedings in the federal actions relating to the use, marketing, and

 sales of Testosterone Replacement Therapy (“TRT”); and

      WHEREAS, the Plaintiffs’ Leadership Group, in association with other attorneys


                                               1
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 16 of 31 PageID #:76332



 working for the common benefit of plaintiffs, have developed or are in the process of

 developing work product that will be valuable in all proceedings and benefit all plaintiffs

 alleging injury caused by use of TRT medication (“Common Benefit Work Product”); and

       WHEREAS, Participating Counsel is desirous of acquiring the Common Benefit Work

Product and establishing an amicable, working relationship with the Plaintiffs’Leadership

Group for the mutual benefit of their clients;

       NOW THEREFORE, in consideration of the covenants and promises contained herein,

and intending to be legally bound hereby, the parties agree as follows:

I.     SCOPE OF AGREEMENT

       A.      Purpose

       This Participation Agreement is a private cooperative agreement between plaintiffs’

attorneys to share Common Benefit Work Product pursuant to Case Management Number

(“CMO”) No. 16, the Order Establishing Common Benefit Fee and Expense Fund and this

Participation Agreement. Any plaintiffs’ attorney who executes this Agreement or who is

otherwise bound to this Participation Agreement by CMO 16 (“Participating Counsel”) is

entitled to receive the Common Benefit Work Product created by those attorneys who have also

executed, or have been deemed to have executed, the Participation Agreement, regardless of the

venue in which the attorney’s cases are pending.

       B.      Rights and Obligations of Participating Counsel

       Participating Counsel shall be provided access to the Common Benefit Work Product,

including access to the document depository. Participating Counsel agree that all TRT cases

and/or claims in which Participating Counsel has a fee interest, including unfiled cases, tolled




                                                 2
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 17 of 31 PageID #:76333




cases, and/or cases filed in state and/or federal court, are subject to the terms of this Participation

Agreement. Participating Counsel shall produce a list that correctly sets forth the name of each

client represented by them and/or in which they have an interest in the attorney fee, regardless of

what that interest is, who has filed a civil action arising from the use, marketing, and/or sale of

TRT. Such list shall include the court and docket number of each such case. Participating Counsel

shall also produce a list that contains the name of each client represented by them and/or in which

they have an interest in the attorney fee, regardless of what that interest is, who has not yet filed

a civil action. Participating Counsel shall supplement the lists on a quarterly basis and provide

the lists to Plaintiffs’ Co-Liaison Counsel. The initial list shall be provided within 15 days of

signing this Agreement and must be supplemented every 90 days thereafter.

 II.     AGREEMENT TO PAY AN ASSESSMENT ON GROSS RECOVERY

         Subject to the terms of this Agreement and the terms of CMO No. 16, all plaintiffs and

 their attorneys who agree to settle, compromise, dismiss, or reduce the amount of a claim, or

 with or without trial, recover a judgment for monetary damages or other monetary relief,

 including compensatory and punitive damages, for any TRT claims are subject to an assessment

 of the Gross Monetary Recovery, as provided herein.

         A.      Assessment Amount

        The assessment amount shall be nineteen and one half percent (19.5%) of the Gross

 Monetary Recovery in each case, fourteen and one half percent (14.5%) for common benefit

 attorneys’ fees and five percent (5%) for common benefit expenses, and represents a holdback

 (See In re Zyprexa Prods. Liab. Litig., 267 F.Supp.2d 256 (E.D.N.Y. 2006)). Failure of any

 counsel who is not automatically bound to pay the common benefit assessment by virtue of

 having a fee interest in a case that is part of the MDL to execute a Participation Agreement


                                                  3
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 18 of 31 PageID #:76334



indicating that an attorney will be a Participating Counsel within the time frame set forth herein

paragraph will result in higher percentages for common benefit assessment as a result of such

later participation. More specifically, and as set forth in this Participation Agreement, the higher

fee percentage for failure to execute a Participation Agreement indicating that an attorney will

be a Participating Counsel within the time frame set forth in this paragraph shall increase from

14.5% to 22.5% (for a total assessment increasing from 19.5% to 27.5%).

      The Participation Agreement is a private and cooperative agreement between plaintiffs’

attorneys only; and not defendants or defendants’ counsel.          All plaintiffs’ attorneys who

currently have cases pending in any state court and who want to become a Participating Counsel

shall, within 45 days of this Order, execute the Participation Agreement. Any plaintiffs’ attorney

who does not yet have a TRT case filed in any federal or state court and who wants to become a

Participating Counsel shall execute the Participation Agreement within 45 days of the date their

first case is filed in any state court, if that lawyer intends to voluntarily become a Participating

Counsel at the fee and expense percentages set forth herein.

       Further, it is encouraged that all attorneys who are part of the MDL, as defined in CMO

16, execute this agreement, so they are aware of both obligations and benefits of CMO 16.

       B.      Gross Monetary Recovery Defined

       Gross Monetary Recovery includes any and all amounts paid to plaintiffs’ and/or their

counsel by defendant(s) through a settlement or pursuant to a judgment. In measuring the Gross

Monetary Recovery, the parties are to (a) exclude court costs that are to be paid by the defendant;

(b) include any payments to be made by the defendant on an intervention asserted by third-

parties, such as to physicians, hospitals, or other healthcare providers in subrogation related to

treatment of a plaintiff, and any governmental liens or obligations (e.g., Medicare/Medicaid);



                                                4
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 19 of 31 PageID #:76335



and (c) include the present value of any fixed and certain payments to be made in the future.

        C.      Covered Cases

        The assessment amount set forth above and in the related Common Benefit Order shall

apply to all cases now pending or later filed in, transferred to, or removed to MDL 2545 and

treated as part of the coordinated proceeding known as In re: Testosterone Replacement Therapy

Products Liability Litigation, regardless of whether the plaintiff’s attorney is either Participating

or Non-Participating Counsel. In addition, pursuant to the terms of CMO 16, the assessment

amount shall apply to all cases in which counsel who have a filed case in MDL 2545 have a fee

interest, regardless of the size of that fee interest. Counsel who sign this Participation Agreement

further agree that the assessment shall apply to all un-filed cases, tolled cases, and/or cases filed

in state court in which they have a fee interest, regardless of the size of that fee interest.

        Non-Participating Counsel who have no fee interest in any case in MDL 2545 are not

required to pay an assessment on state court cases or on un-filed cases. However, non-MDL

Plaintiffs' Counsel as defined in CMO 16, Section I.B who do not sign the Participation

Agreement are not entitled to receive Common Benefit Work Product, and may be subject to an

increased assessment on all TRT cases/claims in which they have a fee interest if they receive

any Common Benefit Work Product or otherwise benefit from the work product created by

Plaintiffs’ Leadership Group and other Participating Counsel working with the MDL. Non-

Participating Counsel shall not be eligible to receive Common Benefit payments for any work

performed or expenses incurred.


        D.      Attorneys’ Fee Lien

        With respect to each client represented in connection with TRT related claims that are

filed or pending in any Federal or State court, are un-filed, or are subject to a tolling agreement,


                                                 5
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 20 of 31 PageID #:76336



consistent with ¶ I.B. and I.C. of the Case Management Order Establishing Common Benefit

Fee and Expense Fund (CMO No. 16), each Participating Counsel shall agree to have defendants

deposit or cause to be deposited in the TRT Fee and Expense Funds established by the District

Court in the MDL a percentage of the gross amount recovered by each such client that is equal

to the assessment amount. In the event defendants do not deposit the assessed percentage into

the Funds, Plaintiff and Plaintiff’s Participating Counsel shall deposit or cause to be deposited

in the TRT Fee and Expense Funds established by the District Court in the MDL a percentage

of the gross amount recovered by each such client that is equal to the assessment amount.

Participating Counsel, on behalf of themselves, their affiliated counsel, and their clients, hereby

grant and convey to Plaintiffs’ Leadership Group a lien upon and/or a security interest in any

fee (a) generated as a result of any recovery by any client who they represent in connection with

any TRT-induced injury and TRT marketing and sales practices claims and (b) they have any

interest in, to the full extent permitted by law, in order to secure payment in accordance with the

provisions of this Agreement. Participating Counsel will undertake all actions and execute all

documents that are reasonably necessary to effectuate and/or perfect this lien and/or security

interest.

        E.     Attorney-Client Contracts

        Both the Plaintiffs’ Leadership Group and Participating Counsel recognize the

importance of individual cases and the relationship between case-specific clients and their

attorneys. Regardless of the type of settlement or conclusion eventually made in either state or

federal cases, Plaintiffs’ Leadership Group will recommend to the MDL Court that appropriate

consideration will be given to individual case contracts between attorneys and their clients.

III.    COMMON BENEFIT EXPENSES



                                                6
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 21 of 31 PageID #:76337



           A.      Qualified Expenses Eligible for Reimbursement

           In order to be eligible for reimbursement of common benefit expenses, said expenses

    must be: (a) for the common benefit; (b) appropriately authorized 1 and timely submitted; (c)

    within the defined limitations set forth in this Participation Agreement and CMO No. 16; and

    (d) verified by a partner or shareholder in the submitting law firm.

           B.      Authorization and Submission of Expenses

           Participating Counsel must submit expenses consistent with the Common Benefit Order.

    Expenses incurred on matters common to all claimants in MDL 2545 and authorized (as that

    term is defined in footnote 1) may be submitted for reimbursement.

           C.      Verification

           The forms detailing expenses shall be certified by a senior partner in each firm, and such

    certification should attest to the accuracy of the submissions. Attorneys shall keep receipts for

    all expenses. Credit card receipts are an appropriate form of verification if accompanied by a

    declaration from counsel that work was performed and paid for the common benefit.

           Cost records shall be electronically submitted to CPA and Co-Liaison Counsel on a

    monthly basis. Untimely submission of Cost records will result in a waiver of said costs.

    Unsubstantiated costs may be disallowed, as recommended by the CPA and/or Co-Lead

    Counsel.


    IV.    COMMON BENEFIT WORK

           A.      Common Benefit Work Eligible for Reimbursement



1
 For the purposes of this Participation Agreement, “authorized” or “approved” in terms of common benefit
expenses and common benefit work shall mean authorized and approved by Co-Lead Counsel or members
of the Executive Committee or those individuals appointed by Co-Lead Counsel to serve as the Chair or
Co-Chair of a committee.


                                                   7
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 22 of 31 PageID #:76338



       In order to be eligible for reimbursement, time expended must be: (a) for the common

benefit; (b) appropriately authorized (see Footnote 1 supra); (c) timely submitted; and (d)

verified by a partner or shareholder in the submitting law firm. Moreover, if counsel is a member

of the Plaintiffs’ Steering Committee and fails to timely submit capital contributions as may be

requested by Co-Lead Counsel throughout this litigation, such counsel and members of his/her

firm shall not be allowed to submit common benefit time or expenses for reimbursement.

       B.      Counsel Involved

       Participating Counsel are prohibited from sharing Common Benefit Work Product with

Non-Participating Counsel, as defined herein. Counsel eligible to perform common benefit work

includes Plaintiffs’ Co-Liaison Counsel, Co-Lead Counsel, members of the PSC, Co-Chairs of

MDL Committees, and other Participating Counsel.

       C.      Authorization

       Time spent on matters common to all claimants in the MDL must be assigned by

Plaintiffs’ Co-Lead Counsel or a member of the Executive Committee or those individuals

appointed by Co-Lead Counsel to serve as the Chair or Co-Chair of a committee to be eligible

for consideration as common benefit time. No time spent on developing or processing individual

issues in any case for an individual client (claimant) will be considered or should be submitted;

nor should time spent on unauthorized work be submitted for consideration.

               (1) Examples of Authorized and Unauthorized Work:

                      a. Depositions of corporate witnesses: Any attorney not designated as one

                          of the authorized questioners or otherwise authorized to attend a

                          deposition on behalf of the PSC shall not be eligible to submit time or

                          expenses for preparing for or attending such deposition, as such



                                               8
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 23 of 31 PageID #:76339



                      attendance is deemed to be on behalf of that attorney’s individual

                      clients. Additionally, while the counsel appointed as one of the

                      authorized questioners may utilize other lawyers and/or staff in his/her

                      firm to prepare for the deposition in the event that he/she elects to bring

                      other people from his/her firm to attend the deposition, only the time

                      and expenses for the appointed questioner and one other person from

                      his/her firm shall be considered for common benefit, the time and

                      travel of all other people from his/her firm should not be submitted and

                      will not be considered for common benefit reimbursement or fees;

                   b. Periodic PSC, MDL, or Full-Committee Conference Calls and

                      Meetings: Such calls and meetings are held so that individual attorneys

                      are kept up-to-date on the status of the litigation, therefore participation

                      by listening to such calls is not common benefit work. Each attorney

                      has an obligation to stay informed about the litigation so that they can

                      best represent their clients, and that is a reason to participate in such

                      calls and meetings. Only the attorneys designated by Plaintiffs’ Co-

                      Lead Counsel to run those calls are working for the common benefit

                      by keeping other lawyers informed and educated about the case, and

                      only their time will be considered common benefit time. Nothing in

                      this paragraph shall be construed to prevent members of the PSC from

                      submitting common benefit time for participation in PSC

                      communications that are germaine to all members of the PSC and are

                      necessary to fulfill their PSC obligations;




                                           9
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 24 of 31 PageID #:76340



                   c. Periodic Status Conferences: Periodic status conferences are held so

                      that the litigation continues to move forward and legal issues are

                      resolved with the Court. Individual attorneys are free to attend any

                      status conference held in open court in order to keep up-to-date on the

                      status of the litigation, but participation by attending and listening to

                      such conferences is not common benefit work. Each attorney has an

                      obligation to stay informed about the litigation so that they can best

                      represent their clients. Mere attendance at a status conference will not

                      be considered a common benefit expense or common benefit time, nor

                      shall particpation in such status conferences via telephone be

                      considered common benefit time. The attorneys designated by Co-

                      Lead Counsel to address issues that will be raised at a given status

                      conference or requested by Co-Lead Counsel to be present at a status

                      conference are working for the common benefit and their time will be

                      considered common benefit time;

                   d. Identification and Work Up of Experts: Participating Attorneys are

                      encouraged to identify experts in consultation with the Co-Chairs of

                      the Science and Expert Committee. If a Participating Attorney travels

                      to and retains an expert without the knowledge and approval of the Co-

                      Lead Counsel or the Co-Chairs of the Science and Expert Committee,

                      the MDL may not need or use that expert, and the associated

                      time and expense may not be considered common benefit

                      expenses/work, and therefore may not be compensable;




                                          10
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 25 of 31 PageID #:76341



                   e. Attendance at Various Seminars: Attendance at a seminar that has as

                      an agenda item about the TRT litigation is not common benefit work

                      or a common benefit expense;

                   f. Document Review: In the MDL, only document review specifically

                      assigned to an attorney and authorized by Plaintiffs’ Co-Lead Counsel

                      or one of the co-chairs of the Discovery or Science Committees will be

                      considered common benefit work. If an attorney elects to review

                      documents that have not been assigned to that attorney by Plaintiffs’

                      Co-Lead Counsel or one of the Co-Chairs of the Discovery or Science

                      Committees, that review is not considered common benefit work;

                   g. Review of Pleadings and Orders: Each attorney has an obligation to

                      stay informed about the litigation so that they can best represent their

                      clients, and review of pleadings and orders is part of that obligation.

                      Only those attorneys designated by Plaintiffs’ Co-Lead Counsel or the

                      Plaintiffs’ Executive Committee to review and summarize those

                      pleadings or orders for the MDL are working for the common benefit,

                      and their time will be considered common benefit time. All other

                      counsel are reviewing those pleadings and orders for their own benefit

                      and the benefit of their own clients, and the review is not considered

                      common benefit work. Nothing in this paragraph shall be construed to

                      prevent members of the PSC from submitting common benefit time for

                      reviewing orders that are germaine to all members of the PSC and

                      review of which is necessary to fulfill their PSC obligations;




                                          11
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 26 of 31 PageID #:76342



                   h. Review of Discovery Responses: Each attorney has an obligation to

                      stay informed about the litigation so that they can best represent their

                      clients, and that is a reason to review discovery responses served in

                      this litigation. Only those attorneys designated by Plaintiffs’ Co-Lead

                      Counsel, the Plaintiffs’ Executive Committee, or one of the Discovery

                      Committee Co-Chairs to review and summarize discovery responses

                      for the MDL are working for the common benefit, and their time will

                      be considered common benefit time. All other counsel are reviewing

                      those discovery responses for their own benefit and the benefit of their

                      own clients, and the review is not considered common benefit work;

                   i. Bellwether Trials: While the work-up of individual cases is not

                      considered common benefit work, in the event that a case is selected

                      as part of an approved bellwether trial process in the MDL or a

                      cooperating state court jurisdiction, the time and expenses in trying the

                      case (including work performed as part of the approved bellwether

                      process) may be considered common benefit work at the discretion of

                      Co-Lead Counsel to the extent it complies with the other provisions of

                      this Order and Participation Agreement;

                   j. Duplicative Billing: Having multiple attorneys within one firm bill for

                      duplicative work will be a fact to be considered by the Fee Committee

                      (which will be appointed at the appropriate time) and may not be

                      compensated and should not be submitted. Law firms are free to staff

                      cases any way they deem appropriate for their law firm, however, the




                                          12
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 27 of 31 PageID #:76343



                          MDL will not compensate one law firm for duplicative billing. This

                          paragraph is not intended to prevent, by way of example, having one

                          lawyer create the first draft of a brief and another lawyer review and

                          edit the brief, nor does this paragraph prevent having multiple

                          attorneys within one firm assist the questioning attorney get ready for

                          a deposition.

       D.     Time Keeping and Submission of Time Records

       All time must be accurately and contemporaneously maintained. Participating Counsel

shall keep a daily record of time spent in connection with common benefit work on this

litigation, indicating with specificity the hours, location, and particular activity (such as

“conducted deposition of John Doe”). Time entries that are not sufficiently detailed may not be

considered for common benefit payments. All common benefit work time for each firm shall be

maintained in tenth-of-an-hour increments. Time submissions will be audited by a CPA to be

appointed by the MDL Court.

        These guidelines are intended for all activities performed and expenses incurred by

Participating Counsel in MDL 2545:

              1.      All time submissions must be incurred only for work authorized under

              this Participation Agreement;

              2.      All time submissions must be made on the forms provided by the PSC;

              3.      Time and expense submissions are to be made on the 15th of each month,

              beginning on December 15, 2014. Each submission should contain all time and

              expenses incurred during the calendar month prior to the submission date (i.e.,

              the January 15, 2015 submission should include all time and expenses incurred




                                              13
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 28 of 31 PageID #:76344



             during the month of December, 2014), though the first submission should include

             all time and expenses incurred through November 30, 2014. All time and expense

             submissions should be accompanied by contemporaneous records and verified

             by a partner or shareholder in the submitting firm. Submissions of time and

             expense made after the 15th day of the month following the month in which the

             time or expense were incurred may be rejected. Only time and expense incurred

             after the entry of CMO No. 4 by the MDL Court appointing Plaintiffs’ Leadership

             on August 1, 2014 (plus any time and expense incurred by those appointed to

             leadership in complying with the terms of CMO No. 1) shall be submitted and

             considered for common benefit consideration. In addition, each firm that makes

             a common benefit time and/or cost submission for a given month shall also be

             required to submit a brief summary (no more than 2 or 3 sentences) summarizing

             the contribution that each time keeper from that law firm made toward the

             common benefit and advancement of the litigation. Moreover, only that time and

             those expenses incurred for the common benefit of all cases, consistent with the

             terms of the Common Benefit Order and this Participation Agreement, shall be

             considered.

             4.     All time submissions must be electronically sent in the designated form

             to the attention of MLD Co-Liaison Counsel so they can be reviewed, compiled,

             and submitted to the Court at the appropriate time.

             5.     Failure to provide submissions in a timely manner shall result in a waiver

             of attorney fees and expenses claimed for the time period that is the subject of

             the submission. Failure to submit time and expense records in electronic

             (searchable) format on the Excel forms approved by Plaintiffs’ Co-Lead

             Counsel, or any other method approved by Plaintiffs’ Co-Lead Counsel, will


                                            14
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 29 of 31 PageID #:76345



             result in a notice of deficiency, after which the submitting firm shall have 15 days

             to cure the deficient submission. Absent prior approval from Plaintiffs’ Co-Lead

             Counsel or special circumstances, failure to cure the deficiency within the fifteen-

             day period shall result in (a) that month’s submission being rejected, and (b) the

             submitting firm waiving compensation for the time and expenses submitted that

             month. Upon a determination by Plaintiffs’ Co-Lead Counsel that a Participating

             Law Firm repeatedly fails to comply with the requirement to timely submit time

             and expense records in the required format, that Participating Law Firm may be

             barred from performing future common benefit work.

             6.     Time spent compiling the data for the time and expense submissions is

             not considered common benefit time.

             7.     Common benefit work shall only be performed by employees of the law

             firm submitting time and/or expenses, unless prior written consent of Co-Lead

             Counsel is obtained. Absent prior written consent of Co-Lead Counsel, time

             and/or expenses by contract attorneys will not be compensated or reimbursed.

             8.     The undersigned Participating Counsel understands, acknowledges and

             agrees that there is no guaranty that all of the time submitted by his or her law

             firm will be compensated and that the hourly rate for the work that is

             compensated is not guaranteed (e.g., that the Common Benefit Fee Committee

             may award different hourly rates for different work and for the same work

             performed by different attorneys or law firms). The            undersigned     also

             understands, acknowledges, and agrees that all hours are not going to be viewed

             equally and awarded at the same rate (e.g., document review time and

             deposition/trial time may not be treated and awarded at the same rate).



                                             15
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 30 of 31 PageID #:76346



         E.   Distribution of Fees

         1.           No Individual Right to the Funds: No party or attorney has any individual

right to any common benefit funds except to the extent directed by Order of the MDL Court.

Common benefit funds will not constitute the property of any party or attorney or be subject to

garnishment or attachment for the debts of any party or attorney except when and as directed by

court order. These limitations do not preclude a party or attorney from transferring, assigning, or

creating a security interest in potential disbursements from the fund if permitted by applicable state

laws and if subject to the conditions and contingencies of this Agreement.

         2.           Court Approval:      The amounts deposited in the TRT Fee Fund shall be

available for distribution to attorneys who have performed professional services or incurred

expenses for the common benefit. The MDL Court retains jurisdiction over any common benefit

award. The undersigned Participating Counsel, on behalf of themselves, their affiliated counsel,

and their clients, hereby consents to the jurisdiction of the MDL Court in connection with any

common benefit award. Each Participating Counsel who does common benefit work has the right

to present their claim(s) for compensation and reimbursement prior to any recommendation to

the Court. It is expected that due consideration of payment of common benefit fees and expenses

will be given to the recommendation of Plaintiffs’ Common Benefit Fee Committee by the MDL

Court.



I                     [name of lawyer executing the Agreement] hereby represent to the Plaintiffs’

Leadership Group that I have the authority to execute this Agreement on behalf of my law firm

and have the authority to bind my law firm to the terms of this Agreement.

    Choose One:




                                                 16
Case: 1:14-cv-01748 Document #: 2902 Filed: 10/26/18 Page 31 of 31 PageID #:76347




    I                            [name of lawyer executing the Agreement] hereby certify that my

    law firm is a MDL Plaintiffs’ Counsel as defined in CMO 16, Section I.B and is subject to an

    assessment of 19.5% (14.5% for fees and 5% for costs)

I                               [name of lawyer executing the Agreement] hereby certify that my

law firm is a participating non-MDL Plaintiffs' Counsel as defined in CMO 16, Section I.B, and

is an early participant and is subject to an assessment of 19.5% (14.5% for fees and 5% for costs)

I                                [name of lawyer executing the Agreement] hereby certify that

my law firm is a is a participating non-MDL Plaintiffs' Counsel as defined in CMO 16, Section

I.B, and is a late participant and is subject to an assessment of 27.5% (22.5% for fees and 5% for

costs)


    Dated:
                                              Law Firm Name:
                                              Attorney’s Name:




                                              PLAINTIFFS’ STEERING COMMITTEE



    Dated:
                                              Peter Flowers
                                              Plaintiffs’ Co-Liaison Counsel



    Dated:
                                              Myron Cherry
                                              Plaintiffs’ Co-Liaison Counsel




                                                17
